Case 1:19-cv-07279-MKB-VMS Document 25 Filed 09/14/20 Page 1 of 1 PageID #: 274




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  GENIUS MEDIA GROUP INC.,                              Case No. 19 Civ. 7279 (MKB) (VMS)

                             Plaintiff,

           v.                                           NOTICE OF APPEAL
  GOOGLE LLC and LYRICFIND,

                             Defendants.

        Notice is hereby given that Genius Media Group Inc. (“Plaintiff”), by and through its

 attorneys, Pryor Cashman LLP, hereby appeals to the United States Court of Appeals for the

 Second Circuit from the Judgment of the United States District Court for the Eastern District of

 New York (Brodie, U.S.D.J.) entered on August 13, 2020, which denied Plaintiff’s motion to

 remand the above-captioned action to state court and dismissed the complaint for failure to state a

 claim because it was preempted by the Copyright Act.

 Dated: New York, New York
        September 14, 2020                                   PRYOR CASHMAN LLP

                                                      By:    /s/ Marion R. Harris
                                                             Ilene S. Farkas
                                                             Marion R. Harris
                                                             Kaveri Arora
                                                      7 Times Square
                                                      New York, New York 10036
                                                      (212) 421-4100
                                                      Attorneys for Plaintiff
